523 U.S. 206118 S.Ct. 1124140 L.Ed.2d 310
    GLENDORAv.John PORZIO et al.
    No. 97-7300.
    Supreme Court of the United States
    March 9, 1998.
    
      PER CURIAM.
    
    
      1
      Pro se petitioner Glendora seeks leave to proceed in forma pauperis to file a petition for a writ of certiorari to the Second Circuit.  The District Court dismissed petitioner's claims alleging violation of her due process rights and a conspiracy to violate her due process rights under 42 U.S.C. §1983 and 42 U.S.C. §1985, respectively.  The claims, which arose out of a dispute with her landlord, were based on purported "sewer service'' used by her landlord's lawyers and acceptance of the affidavits of service by the state court trial judge.  The Second Circuit denied petitioner's motion to proceed in forma pauperis and dismissed her appeal as frivolous.
    
    
      2
      We deny petitioner leave to proceed in forma pauperis. She is allowed until March 30, 1998, to pay the docketing fees required by Rule 38 and to submit her petition in compliance with Rule 33.1.  For the reasons discussed below, we also direct the Clerk of the Court not to accept any further petitions for certiorari in noncriminal matters from petitioner unless she first pays the docketing fee required by Rule 38 and submits her  petition in compliance with Rule 33.1.
    
    
      3
      Petitioner has filed 14 petitions with this Court since 1994. All have been denied without recorded dissent.  In 1997, we invoked Rule 39.8 to deny petitioner in forma pauperis status. Glendora v. DiPaola, 522 U.S. ----, 118 S.Ct. 410, 139 L.Ed.2d 313 (1997).  Petitioner nevertheless has filed another frivolous petition with this Court.  In her petition, Glendora asserts that the state trial court judge who presided over her dispute with her landlord sanctioned "sewer service'' by her landlord's lawyers, and that the District Court and Court of Appeals sanctioned this conduct.  She does not address the District Court's reasons for dismissing her complaint.
    
    
      4
      Accordingly, we enter this order barring prospective in forma pauperis filings by petitioner in noncriminal cases for the reasons discussed in Martin v. District of Columbia Court of Appeals, 506 U.S. 1, 113 S.Ct. 397, 121 L.Ed.2d 305 (1992) (per curiam).
    
    
      5
      It is so ordered.
    
    
      6
      Justice STEVENS, dissenting.
    
    
      7
      For reasons previously stated, see Martin v. District of Columbia Court of Appeals, 506 U.S. 1, 4, 113 S.Ct. 397, 398, 121 L.Ed.2d 305 (1992), and cases cited, I respectfully dissent.
    
    